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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

JERRY MERRIAM,

                   Plaintiff,

       v.                                          Case No. 1:23-cv-00836-HYJ-SJB

FIRST ADVANTAGE BACKGROUND                         Chief Judge Hala Y. Jarbou
SERVICES CORP.,

                   Defendant.


               STIPULATION FOR DISMISSAL WITH PREJUDICE AND ORDER

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii) and the Court’s Order (ECF

No. 17), Plaintiff Jerry Merriam and Defendant First Advantage Background Services Corp., by

and through undersigned counsel, hereby stipulate that this action be dismissed with prejudice.

Plaintiff and First Advantage shall each bear their own attorneys’ fees and costs.

       IT IS SO ORDERED

                                /s/ Hala Y. Jarbou
                                HALA Y. JARBOU
Dated: February 6, 2024         CHIEF UNITED STATES DISTRICT JUDGE



 /s/ Beth K. Findsen                                 /s/ Gary S. Fealk
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 Attorney for Plaintiff,                             Attorneys for Defendant First Advantage
 Jerry Merriam                                       Background Services Corp.
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                                CERTIFICATE OF SERVICE

       I hereby certify that on February 5, 2024, I electronically filed the foregoing with the Clerk

of the Court using the ECF system, which will send notice of such filing to all attorneys of record

in this matter. Since none of the attorneys of record are non-ECF participants, hard copies of the

foregoing have not been provided via personal delivery or by postal mail.



                                                              /s/ Marie Tirona
